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UNITE]) STA'I`ES BANKRUP'I`CY COURT
SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

IN RE: §
§
BENDCO, INC. § cASE No. 13_30349
§
DEBTOR § cHAPTER 11

DEBTOR’S APPLICATION FOR AUTHORITY TO APPOINT AN]) RETAIN
ACCOUNTANT, RUSSELL, CRAFT & SCHULZ, PURSUANT TO 11 U.S.C. § 327

THIS MOTION SEEKS AN ()RDER THA'I` MAY ADVERSELY AFFECT
YOU. IF YOU OPPOSE THE MOTION, YOU SI-IOULD IMMEDIATELY
CONTACT THE MOVING PAR'I`Y TO RESOLVE THE DISPUTE. IF YOU
AND THE MOVING PARTY CANNOT AGREE, YOU MUST FILE A
RESPONSE AND SEND A COPY TO THE MOVING PARTY. YOU MUS'I`
FILE AND SERVE YOUR RESPONSE WITHIN 21 DAYS OF THE DATE
TI'IIS WAS SERVED ()N YOU. YOUR RESPONSE MUST S'I`ATE WHY
THE MOTION SI"IOULD NOT BE GRANTED. IF YOU DO NOT FILE A
TIMELY RESPONSE, 'I`HE RELIEF MAY BE GRANTED WITHOUT
FURTHER NOTICE TO YOU. IF YOU OPPOSE 'I`HE MOTION ND HAVE
NOT REACI~IE]) AN AGREEMENT, YOU MUST ATTEND THE I'{EARING.
UNLESS THE PARTIES AGREE OTHERWISE, TI-IE COURT MAY
CONSIDER EVIDENCE AT THE HEARING AND MAY DECIDE 'I`HE
MOTION AT THE HEARING.

 

REPRESENTEI) PARTIES SH()ULI) ACT THROUGH THEIR ATTORNEY.

TO THE HONORABLE DAVID R. JONES,
CHIEF UNITED STATES BANKRUPTCY JUDGE:

 

COMES NOW, Bendco, Inc., the Debtor herein (the “Debtor”), and files its Applicatiorl for
Authority to Appoint and Retain Accountant, Russell, Craft & Schulz, Pursuant to l 1 U.S.C. § 327
(the “Application”), and in Support thereof, Would respectfully show unto the Court as follows:

I.
Debtor Bendco, Inc., has filed a voluntary petitiorr for relief under Chapter ll of

Title ll of the United States Code on February 28, 2018 (the “Date of Petition”). From and Since

 

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the Date of Petition, the Debtor has maintained possession of its property, and has continued to
remain in control of its ongoing business affairs as a Debtor~in~possession pursuant to the provisions
ofll U.S.C. §§ 1107 and 1108.

II.

This Court has jurisdiction over the proceedings herein pursuant to ll U.S.C. § 105, and 28
U.S.C. §§ 151, 157, and 1334. Venue is appropriate herein by virtue of 28 U.S.C. § 1408.

Hi.

The Debtor requests this Court’s authority to employ an accountant pursuant to l l U.S.C.
§ 327(a). An At`iidavit of the proposed accountant is attached hereto as Exhibit “A” and
incorporated herein for all purposes Notice of the Debtor’s Appiication is being provided herein
to the United States Trustee and all creditors and parties»in-interest via service of same upon those
parties in accordance With Bankruptcy Locai Rule 9013.

IV.

Debtor has selected the firm of Russeil, Crai"t & Schulz (“RCS”) for the reason that Debtor
believes that RCS has the necessary expertise and knowledge to perform the Work required during
this proceeding and desires to hire RCS to assist in the preparation of accounting functions required
under this proceeding

V.

In the operation and management of the Debtor’s business, as Debtor-in~possession,
numerous accounting questions and matters Will arise Which require the services and advice of a
C.P.A. The professional services to be provided by RCS include the preparation of tax returns and

Monthly Operating Reports for the Debtor. In that connection, the Debtor is of the view that it is

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necessary for it to he authorized to retain RCS as its C.P.A.
VI.
Other than is disclosed beiow, to the best of Debtor’s l<nowledge, information and beiief,
RCS has no connection of any kind or nature With the Debtor, its creditors, any other party in
interest, their respective attorneys and aceountants, the United States Trustee or any person employed
in the office of the United States 'i`rustee, RCS represents no interest adverse to the Debtor or its
estate in the matters upon Which he has been engaged by the Debtor.
Prior to the filing of Debtor’s Chapter 11, RCS prepared tax returns for the foilowing:
A. Rick Friery, Sr., CEO of the Debtor.
i) Form 1040 Tax Returns - 2016 and 2017
B. Rodney Friery, Vice President of the Debtor.

i) Form 1040 Tax Return ~ 2016

RCS is not a creditor of the Debtor. Retention and employment of RCS Wouid he in the best
interests of the Debtor and its estate.
VII.
Debtor desires to employ RCS on a fee basis. At the present time, the firm of RCS charges
the following biiling rates:
Gaiy Schuiz, CPA/ABV, 3175.00 per hour
Lori Harman, $96.00 per hour
Carol Schulz, $86.00 per hour
The fees charged by RCS for its services are favorably comparable to fees being charged by

other accountants and staff in this District for services of a similar nature. RCS requires the Debtor

to provide a retainer of $5,000.00 against Which RCS Will provide application to this Court. RCS

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will be paid on an hourly basis, but, pursuant to l l U.S.C. §§ 330 and 33 1, future compensation paid
to RCS will be subject to the scrutiny and authority of this Court.

WHEREFORE, PREMISES CONSIDERED, the Debtor herein, prays for this Court to
authorize the employment of Russell, Craft & Sehulz and that Russell, Craft &, Schulz be employed
on a fee basis to assist in the preparation of financial statements, tax returns and any additional
accounting services as may be required for Debtor’s reorganization, including special accounting
projects In that connection, the Debtor is of the view that it is necessary for it to be authorized to

retain RussellJ Craft & Schulz as its accountant

 

Respectfully submitted May 1, 20i 8.

FUQUA & AssoCIATEs, PC

By: /s/ Richard L. Fuaua
Richard L. Fuqua
State Bar #07552300
5005 Riverway, Suite 250
Houston, Texas 77056
Phone:713.960-0277
Facsimile:713.960~1064

 

CERTIFICATE OF SERVICE

 

This is to certify that a copy of the above and foregoing instrument was forwarded by U.S.
mail, first class postage prepaid to the United States Trustee, 515 Rusk, Suite 3516, Houston, Texas
77002 and to all parties listed on the attached service list on May 2, 2018.

/.s'/ Richard L. Fucma
Richard L. Fuqua

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“EXHIBIT A”

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF 'I`EXAS
HOUS'I`ON DIVISION

IN RE: §
§
BENDCO, INC. § CASE NO. 18-30849
DEBTOR § CHAPTER 11

AFFIDAVIT OF I’ROPOSED ACCO`UNTANT PURSUANT 'I'O
1 .S.C A 327 a D FE]). R. BKTCY. P. 2014 a

TI-IE STATE OF TEXAS §

§
COUNTY OF HARRIS §

I, Gary Schulz, CPA/ABV, being duly sworn, depose and state the following:
1.

“ My office address is 1002 Gernlni Avenue, Suite 130, Houston, TX 77058.
II.

At the present time, my services for all of the frrm’s clients are billed at the rate of
$175.00 an hour. The fees which shail be charged by the firm of Rnssell, Craft & Schulz to the
Debtor’s estate are as follows:

Gary Sehnlz, CPA/ABV, $1'75.00 per hour
Lori Harman, $96.00 per hour
Carol Schulz, $86.00 per hour

Other than is disclosed below, insofar as Ihave been able to ascertain, neither l nor Russell,

Craft &. Schulz have any contraction of any kind or nature with the Debtor, its creditors, any other

party in interest, their respective attorneys and accountants the United States Trustee or any person

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employed in the office of the United States 'l"rnstec. Neither l, nor the firm of Russell, Cral`t &
Schulz hold or represent any interest adverse to the Dchtor or its estate in the matters upon which
we are to be engaged by the chtor. Russeil, Cral"t & Schulz and l arc both disinterested personsl
Prior to the filing ol`Debtol"s Chaplcr l l, Russeli, Cral"t & Schulz prepared tax returns for the
i"oliowing‘.
A. Ricl< Friery, Sr., CEO ot`the chtor.
l) lionn 1040 Tax Rcturns - 2016 and 2017
B. Rodncy Fricry, Vice i’resident of the Dehtor.
l) l'"orm l040 'l`ax Returns - 2016

Ncither l nor the accounting firm ol" Russeli, Crai`t & Schulz arc creditors, equity security

holders, or insiders, as defined in l l U.S.C.§ 101(31), ofthc Dehtors. 'i`he employment ofRussell,

Craft & Schulz is in the best interests o'l"thc Dei)lor and its estate."

%¢MA/
Gaiy Scl{:ui/zl., l’A/Al}\_/

SWORN 'i`O AND SUBSCR]BED BE",FORE l\'ll;i by Gary Sehulz on this l
2018, to certify which witness my hand and official seal of office

144

Notary Public' in and t`oi
State of / /C/)<>/=-

lvly commission expiies: Z. 3 iv LL-

Further, Afi`iant snyeth not.

 

day o'l" May,

 

       
     

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